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                             In the US District Court for the State of Oregon
   Benjam in Jay Barber
   V.                                                    Case No. 3:22-cv-00134-MO
   Unitus Community Credit Union,
                                                                  Motion for Reconsiderati on
   Rebecca Rich, in her official capacity
   as branch manager for Unitus
   Unknown John Doe, in his official capacity as
   bank teller for Unitus


                                           Memorandum of Law

  We agree with the reasoning of the Second Circuit in Romand ette, 807 F.2d 309 , and the Fifth
  Circuit in Rochon , 828 275*275 F.2d 1107. Therefore, we hold that an incarcerated pro se
  plaintiff proceeding in forma pauperis is entitled to rely on the U.S. Marshal for service of th e
  summons and complaint, and , having provided the necessary information to help effectuate
  service, plaintiff should not be penalized by having his or her action dismissed for failure to
  effect service where the U.S. Marshal or the court clerk has failed to perform the duties re qui red
  of each of them under 28 U.S.C. § 1915(c) and Rule 4 of the Federal Rules of Civil Procedu re.

  Puett v. Blandford, 912 F, 2d 270. 272 - Court of Appeals, 9th Circuit 1990


  The district court decided that plaintiff was unable to demonstrate good cause for his fai lu re to
  effect timely service . We disagree. Under the circumstances present here, the utter fail ure of the
  clerk and the Marshals Service to accomplish their respective duties to issue and serve process
  for plaintiff proceeding in forma pauperis constitutes a showing of good cause under Fed.
  R.Civ.P. 4. In so holding , we align ourselves with those other Courts of Appeal that confer a
  showing of automatic good cause on similarly situated plaintiffs.

  Byrd v. Stone. 94 f. 3d 217, 220 - Court of Appeals, 6th Circuit 1996

   What if I Filed In Forma Pauperis?
   If your Application to Proceed In Forma Pauperis is approved, the Court will issue the summons and
   forward it to the United States Marshal to serve on the defendants at no cost to you . Howe ver, fi rst the
   Court will provide the necessary forms ( one per defendant) to you, and you must complete the forms and
   return them to the Court. The Court will then provide the U.S. Marshal with the form you completed,
   and the U.S. Marshal will serve the defendant for you.
  https ://www.ord.uscourts.gov/p hocadownload/userupload /prose/Handbook%20for% 20Se
  lf-Represented%20Parties .pdf




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                                          Factual Pleading

The court indicated that I failed to serve the summons on the defendants, I was under the
impression that the summons was supposed to be filed by the cou rt , attached is an excerpt fro m
the pro-se filing guide , and that was what I was told when I went to the courthouse .

I was never provided any forms to complete by the court after the approval , and I was under th e
impression that the summons had already been served by the court, when my in fo rma paupe ris
was approved , and the court already had all the information requi red on the form .

Moreover, the previous filing demonstrated that I attempted to se rve the defenda nt myself at my
own expense , however I was told by the Multnomah County Sheriff's department that it would
take 3 weeks for them to get it done , and I didn't have anyon e else to serve it on my behalf, so I
do not have proof of service returned from the the Sheriff's de partment, to provid e you yet.

Moreover I delivered the original compla int to the defenda nts by US mail first cl as s, in addition
to personally delivering the complaint to the downtown bra nch of the Un itus bu ilding, on the day
tha t I had originally filed the compla int.

Moreover, when I delivered the complaint to the downtown branch in person, I ag ain tried to
resolve the issue , and attempted for a second time to try to open an account, however I was
again unlawfully den ied the ability to do so . So even if the original complaint is dismissed with
prejudice , the court should clarify whether or not I can refile a new one based on the second
violation , which was not previously pleaded in the original or amended com plai nt.

I bel ieve that I have made sufficient efforts to prosecute the matter, and went to the courthouse
to resolve the issue when you brought it to my attention, so I wish that you wou ld recons ider
your decision in light of these circumstances. Additionally I would li ke to note th at I suffer from
Crohns disease , wh ich had caused an anal fissure (bleed ing in the large intestin es), wh ich ha s



                                                                       + Providence
gone untreated because of the waiting time. Attached are those rel ated documents.


AFT ER VIS IT SUMMARY
Benjamin J. Barber         DoB: 6/7/1985
           ~ 7/18/2022     Q PROVI DENCE MILWAUKIE HOSPITAL EMERGENCY CENTER 503 -513-103 1



Instru ct io ns                                                    Today's Visit
                                                                   You w ere seen by Cam eron Saffer,
You r persona lized instru ctions can be found at the end of
th is document.                                                    MD
                                                                   !~eason for Visit
        Your medications have changed                              Rectal Pa in

         C) START taking:                                          Diagnosis
            hydrocortisone (PREPARATION H)                         An al fissu re

            oolvethvlene alvcol (MIRALAX)
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AFTER VISIT SUMMARY
Benjamin J. Barber             Do B: 6/7/1985
                                                                                + Provide11ce
             t;j 6/19/2022    9   PROVIDENCE M ILWAUKIE HOSPITAL EMERGENCY CENTER 503-513- 1031



Instructions
        Your medications have changed
         0    START taking:
              ibuprofen (ADVIL,MOTRIN)
             traMADol (ULTRAM)
         Review your updated medication list below.


         Read the attached information
         Flank Pain, Uncertain Cause (English)


AFTER VISIT SUMMARY
Benjamin J. Barber       DoB: 6fl/1985          r::l 6/1/2022   8:40 AM   9 Neighborhood Heal th Cen ter 503-<!'6-1960

What's Next
 JUL  OFFICE VISIT with Gregory            Neighborhood Health            Today's Visit
 29 Guffanti, MD                           Center                         You saw Samantha Jay Abbott, FNP or
       Friday July 29 4:20 PM (Arrive by   10330 SE 32ND AVE
2022                                                                      Wednesday June 1, 2022 . The follo wing
       4:05 PM)
                                           STE 325
                                           MILWAUKIE OR 97222-            issue was addressed: Anorecta l fis sure.
                                           6656
                                           503-416-1960
                                                                            , ,--. , Blood       _g.   BMI
                                                                            ~ Pressure           l~•- 31 .60


 ED Provider Notes

 + Providence
 Mark Nyyst i Rob erts at 04/10/22 1804




                                                                  BENJAMIN JAY BARBER
 PR09iDENCE MILWAUKIE HOSPJTAL
  EMER:c;E~CYDEPARTMENTENCOUNJER                                  MRN:200013$8856




 Chief Complaint
 Patient presents With
  • Rectal Bleed
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                                                                      on
                       In the US District Court for the State of Oreg

Benj amin Jay Barber
V.                                                 Case No. 3:22-cv-0 0134-MO
Unitus Community Credit Un ion ,
Rebecca Rich , in her official capacity                        Cert ifica te o f Serv ice
as branch manager for Unitus
Unknown John Doe, in his official capacity as
bank teller for Unitus

                                    Certificate of Service

                                             ded complaint serve d on the company Un itus
On June 28th 2022 the defendant had the amen
                                          ty Sheriffs Department civil service, at the
Community Credit Union by Multnomah Coun
following address .

Unitus Westmoreland Branch
1615 SE Bybee Blvd,
Portl and, OR 97202




Isl  rini;•;~
Date June 27th 2022
                                                     Multnomah Cou nty She riff's Office

                                                              CIVIL PRO CES S UNI T

                                          MCSO Case No·- -- - - - - - - , - - -
                                                                                Date           O   bd 1 /4o 1. 1-
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                                                   ~\W<>-U. k (f State: Dal 2;ip: ct1-zzz_
                                          City: t1 ,

                                                                                                        Amount


                                           Court Case No. 3 : 2Z- CV _Q () J3L-/-
                                           Type of ProcessArvltr \ J

                                           Execu tion

                                           Misc. Fees




                                                                                     Amount Due



                                           Check #      cas6                    Total Received

                                                                                    ),I;
                                                                                     ~v'D' L r-j- 1
                                            No.   C O5949                Rec'd By
                                                                                      Mcmbt'.lr Namo        8 PST
                                                                                                             97 PS 331 B
